                                          Case 25-10308     Doc 438-6        Filed 05/09/25      Page 1 of 1


Diamond Select Toys & Collectibles, LLC                                                                           Case No. 25-10312
AP Aging                                                                                                          01.14.25-01.31.25




 Diamond Select Toys       CURRENT            1 TO 30         30 TO 60            61 TO 90          OVER 90             TOTAL

PRODUCT                     156,264.67                  -                -                   -                -         156,264.67
NON PRODUCT                   7,048.20                  -                -                   -                -           7,048.20
TAXES                              -                    -                -                   -                -                -

TOTAL                       163,312.87                  -                -                   -                -         163,312.87
